Case 1:17-cv-24129-KMM Document 26 Entered on FLSD Docket 02/22/2018 Page 1 of 7



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 17-24129-CIV-KMM

  JUAN CARLOS FLORES BLANCO, and all )
  others similarly situated under 29 U.S.C. )
  216(b),                                   )
                                            )
                    Plaintiff,              )
          vs.                               )
                                            )
  CACERES DRYWALL CORP,                     )
  CACERES INTERIOR PARTITIONS, INC., )
  JORGE E CACERES,                          )
                                            )
                    Defendants.             )
  _____________________________________ )

      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ NUNC PRO TUNC
      MOTION FOR EXTENSION OF TIME TO FILE A RESPONSE TO THE AMENDED
                              COMPLAINT [DE23] 1

          COMES NOW the Plaintiff, by and through undersigned counsel, and hereby Responds

  in opposition to Defendants’ Motion for Leave to File Answer and Affirmative Defenses to the

  Amended Complaint, filed as [DE23], and in support thereof states as follows:

       1. On November 9, 2017, Plaintiff filed his initial Complaint [DE1] against Defendants,

  CACERES DRYWALL CORP, and JORGE E CACERES, jointly and severally, sounding under

  the Fair Labor Standards Act (“FLSA”) 29 U.S.C. §§ 201-216 for overtime and minimum wage

  violations.

       2. Thereafter, on November 11, 2017, Plaintiff filed his First Amended Complaint [DE9]




  1
    Plaintiff also refers the Court to Plaintiff’s Motion for Final Default Judgment Against
  Defendants, Jointly and Severally, by the Court and Entitlement to Attorneys’ Fees and Costs,
  Including Future Fees and Costs in Collection of Final Default [DE22] and Plaintiff’s Reply
  [DE25].
                                                1 of 7
Case 1:17-cv-24129-KMM Document 26 Entered on FLSD Docket 02/22/2018 Page 2 of 7



  against Defendants, CACERES DRYWALL CORP, CACERES INTERIOR PARTITIONS,

  INC., and JORGE E CACERES, jointly and severally, sounding under the Fair Labor Standards

  Act (“FLSA”) 29 U.S.C. §§ 201-216 for overtime and minimum wage violations.

      3. Per [DE9, FN 1], the First Amended Complaint [DE9] was filed pursuant to Fed. R. Civ.

  P. 15(a)(1)(B). Per the rule, a party may amend its pleading once as a matter of course within 21

  days after service of a responsive pleading or 21 days after service of a motion under Rule

  12(b),(e), or (f), whichever is earlier, if the pleading is one which requires a responsive pleading.

  Fed. R. Civ. P. 15(a)(1)(B). Defendants had not filed a responsive pleading or served a motion

  under Rule 12(b), (e), or (f), to date and, as such, the 21 day period had not commenced.

      4.   On December 19, 2017, Defendants moved the Court for an extension of time to file

  their responsive pleading. [DE13].

      5. The Court entered a paperless Order [DE15] grating Defendants’ Motion nunc pro tunc.

  Per the Court’s Order [DE15], Defendants “shall file a Response on or before January 12, 2018.”

      6. Defendants now move this Court for an extension of time nunc pro tunc to file an

  Answer to Plaintiff’s Amended Complaint [DE9], approximately three (3) months since

  service was effectuated on Defendants. Defendants appear to believe they do not have to

  conform to the Rules, blaming this “oversight” on an internal mis-calendaring. 2

      7. Defendants contend that as a direct result of this matter having been litigated Defendants’

  failure to file a responsive pleading to the operative Complaint [DE9] will not result in Plaintiff

  being prejudiced and/or cause delay whatsoever.

      8. On the contrary, as a direct result of Defendants’ failure to timely file an Answer and




  2
    Interestingly, Defendants have not attached any Affidavits and/or supporting testimony from
  the individual in charge of calendaring.
                                                 2 of 7
Case 1:17-cv-24129-KMM Document 26 Entered on FLSD Docket 02/22/2018 Page 3 of 7



  Affirmative Defenses, Plaintiff has not been able to serve targeted written discovery and, until

  late last night, has not known the details concerning Defendants’ affirmative defenses..

      9. A review of Defendants’ proposed Answer and Affirmative Defenses to Plaintiff’s

  Amended Complaint [DE23-1], is rife with inconsistencies between the pleadings in the case at

  bar to date by Defendants. For example, Defendants’ proposed Answer [DE23-1] reflects that

  Defendants still have failed to specifically set forth their position as they admit to the prongs of

  FLSA coverage/subject-matter jurisdiction while simultaneously contesting same in their

  Seventh Affirmative Defenses and, therefore, the proposed Answer remains ambiguous and

  vague. Plaintiff is entitled to know with specificity Defendants’ defenses and responses to the

  Complaint. At this stage, Defendants’ position in this matter remains ambiguous and shrouded

  in mystery. Plaintiff is entitled to know with specificity Defendants’ defenses and responses to

  the Complaint, especially at this point in the litigation. Defendants have still not clarified their

  position as to who they believe was Plaintiff’s employer for the relevant time period (i.e [DE23-

  1, Par.10] (“Admitted that these are the approximate dates Plaintiff was employed by at least one

  Defendant.”). Defendants also have failed to provide all underlying documents relied on to create

  the chart in Defendants’ Amended Response to Plaintiffs’ Statement of Claim [DE21], which

  clearly reflects that Plaintiff worked overtime in almost all the weeks reflected on said chart. 3

      10. Defendants should be prohibited from relying on such grossly vague pleadings as nothing

  about the pleading thus far puts Plaintiff on notice regarding the details concerning their

  affirmative defenses.



  3
    On February 13, 2018, the undersigned sent an email to all Defense counsel of record including
  their paralegal and assistant (four people total from the defense team), requesting that the
  underlying documents be provided and reminding the defense that they are part of Defendants’
  Rule 26 Disclosures and need to be turned over in compliance with the Court’s Order. Perhaps
  this too is another “oversight” and/or mis-calendaring on the part of Defendants.
                                                  3 of 7
Case 1:17-cv-24129-KMM Document 26 Entered on FLSD Docket 02/22/2018 Page 4 of 7



     11. Furthermore, the Court has been negatively impacted by Defendant’s failure to follow its

  deadlines.

                 Both the default entry and judgment play an important role in the
                 maintenance of an orderly, efficient judicial system. They are
                 significant weapons for enforcing compliance with the rules of
                 procedure and therefore facilitate the speedy determination of
                 litigation. The default procedure offers a useful remedy to a good
                 faith litigant who is confronted by an obstructionist adversary. It
                 also represents a means of encouraging an unwilling or
                 uncooperative party to honor the rules established for litigation in
                 the federal courts and provides the nondefaulting party an
                 expeditious path to follow when his adversary does not do so or
                 simply abandons the contest. But if default is to be an effective
                 sanction, relief under Rule 55(c) cannot be granted too readily.
                 Wright, Miller & Kane, Federal Practice and Procedure: Civil 2d §
                 2693 (citations omitted).


  Atlanta Gas Light Co. v. Semaphore Adver., Inc., 747 F. Supp. 715, 718 (S.D. Ga. 1990).

     12. Plaintiff has moved this Court for a final default judgment, pursuant to Federal Rule of

  Civil Procedure 55(b)(2), to be entered against Defendants for failure to timely file an answer to

  the amended complaint. [DE22]; See also [DE25].

     13. Therefore, Plaintiff respectfully requests the Court deny Defendants’ Motion [DE23] in

  its entirety and for an award of fees in relation to the instant Response and all related work.

  Plaintiff respectfully requests that the Court enter a Final Default Judgment against all

  Defendants, CACERES DRYWALL CORP, CACERES INTERIOR PARTITIONS, INC., and

  JORGE E CACERES, jointly and severally, as no Responsive pleading has been filed as to the

  First Amended Complaint [DE9]. Plaintiff also respectfully requests that the Court enter an

  Order entitling Plaintiff’s attorneys’ fees and costs, including future fees and costs in collection

  of the final default judgment. Plaintiff respectfully requests twenty (20) days from the Court’s

  Order to file a Motion quantifying all fees, costs, and damages.



                                                 4 of 7
Case 1:17-cv-24129-KMM Document 26 Entered on FLSD Docket 02/22/2018 Page 5 of 7



                                        MEMORANDUM OF LAW

         This Court has the power to enter a final default against Defendants for failure to timely

  Answer a Complaint pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure. It is

  well-settled that the entry of a final judgment by default is available to facilitate the exercise of

  the Court's inherent power to manage its affairs. Wahl v. McIver, 773 F.2d 1169, 1174 (11th

  Cir.1985) (citing Flaksa v. Little River Marine Construction Co., 389 F.2d 885, 887 (5th

  Cir.1968)). Failure to obey a court's order constitutes sufficient grounds for a final default

  judgment. Bonanza Intern., Inc., v. Corceller 480 F.2d 613, 614 (5th Cir. 1973). Further, in an

  Eleventh Circuit decision, the Court reversed the district court for allowing Defendants to amend

  their pleadings to assert an affirmative defense at trial. Diaz v. Jaguar Rest. Group, LLC, 627

  F.3d 1212 (11th Cir. Fla. Dec. 13, 2010).          See also, Donahay v. Palm Beach Tours &

  Transportation, 243 F.R.D. 697 (S.D. Fla. 2007) (defendants sought to amend answer and

  affirmative defenses seeking a declaration that would trigger the Motor Carrier Act, and this

  Court found that simply failing to timely plead is not good cause).

         In the case at bar, Defendants have failed to timely file an Answer and raise any

  affirmative defenses they may have and have, thus, waived any specific exemption defenses as

  they were never pled as affirmative defenses. Plaintiff respectfully requests that the Court enter a

  Final Default Judgment against all Defendants, jointly and severally, as no Answer has been filed

  in response to Plaintiff’s First Amended Complaint [DE9]. Plaintiff also respectfully requests

  that the Court enter an Order entitling Plaintiff’s attorneys’ fees and costs, including future fees

  and costs in collection of the final default judgment. See also DiFrancesco v. Home Furniture

  Liquidators, Inc., 2009 U.S. Dist. LEXIS 736 (S.D. Fla. Jan. 6, 2009) (this Court found that

  attorney’s fees related to collection on a final default judgment was available in FLSA cases).



                                                 5 of 7
Case 1:17-cv-24129-KMM Document 26 Entered on FLSD Docket 02/22/2018 Page 6 of 7



     WHEREFORE PLAINTIFF RESPECTFULLY REQUESTS THE COURT DENY

  DEFENDANTS’ MOTION [DE23] IN ITS ENTIRETY AND FOR AN AWARD OF FEES IN

  RELATION TO THE INSTANT RESPONSE AND ALL RELATED WORK. PLAINTIFF

  RESPECTFULLY REQUESTS THAT THE COURT ENTER A FINAL DEFAULT

  JUDGMENT AGAINST ALL DEFENDANTS, CACERES DRYWALL CORP, CACERES

  INTERIOR PARTITIONS, INC., AND JORGE E CACERES, JOINTLY AND SEVERALLY,

  AS NO RESPONSIVE PLEADING HAS BEEN FILED AS TO THE FIRST AMENDED

  COMPLAINT [DE9]. PLAINTIFF ALSO RESPECTFULLY REQUESTS THAT THE COURT

  ENTER AN ORDER ENTITLING PLAINTIFF’S ATTORNEYS’ FEES AND COSTS,

  INCLUDING FUTURE FEES AND COSTS IN COLLECTION OF THE FINAL DEFAULT

  JUDGMENT. PLAINTIFF RESPECTFULLY REQUESTS TWENTY (20) DAYS FROM THE

  COURT’S ORDER TO FILE A MOTION QUANTIFYING ALL FEES, COSTS, AND

  DAMAGES.

                                              Respectfully submitted,

                                              J. H. ZIDELL, P.A.
                                              ATTORNEYS FOR PLAINTIFF
                                              300-71ST STREET, SUITE 605
                                              MIAMI BEACH, FLORIDA 33141
                                              305-865-6766
                                              305-865-7167

                                              By:_s/ Rivkah F. Jaff, Esq. ___
                                                 Rivkah F. Jaff, Esquire
                                                 Florida Bar No.: 107511

                           CERTIFICATE OF SERVICE

   I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
          WAS PROVIDED VIA CM/ECF ON 2/22/18 TO THE FOLLOWING:

                               ADI AMIT, ESQ.
                            LUBELL & ROSEN, LLC

                                     6 of 7
Case 1:17-cv-24129-KMM Document 26 Entered on FLSD Docket 02/22/2018 Page 7 of 7



                       200 S. ANDREWS AVENUE,SUITE 900
                          FORT LAUDERDALE, FL 33301
                                 PH: 954-880-9500
                                FAX: 954-755-2993
                       EMAIL: ADI@LUBELLROSEN.COM

                     BY:__/s/____Rivkah F. Jaff_______________
                              RIVKAH F. JAFF, ESQ.




                                       7 of 7
